2:17-cv-00194-kjd Document 140-24 Filed 03/06/20 Page 1of 30

EXHIBIT 22
2:17-cv-00194-kjd Document 140-24 Filed 03/06/20 Paget o 34EXHIBIT

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF VERMONT

MISTY BLANCHETTE PORTER, M.D.,

Plaintiff,
vs.
Case No. 5:17-cv-194
DARTMOUTH-HITCHCOCK MEDICAL
CENTER, DARTMOUTH-HITCHCOCK
CLINIC, MARY HITCHCOCK
MEMORIAL HOSPITAL, and
DARTMOUTH-HITCHCOCK HEALTH,

Defendants.

PLAINTIFF’S RESPONSE TO DEFENDANT DARTMOUTH-HITCHCOCK MEDICAL
CENTER’S FIRST SET OF INTERROGATORIES PROPOUNDED ON PLAINTIFF
MISTY BLANCHETTE PORTER

Plaintiff Misty Blanchette Porter, M.D., (“Plaintiff” or “Dr. Porter”), pursuant to Rules 26
and 33 of the Federal Rules of Civil Procedure and by and through her counsel, Katherine B.
Kramer, Esq., of Katherine Burghardt Kramer Law Office PLLC, and Geoffrey J. Vitt, Esq., of
Vitt & Associates PLC, responds as follows to Defendant Dartmouth-Hitchcock Medical
Center’s First Set of Interrogatories to Plaintiff. Plaintiff reserves the right to supplement her
responses.

Defendants’ Interrogatories and Plaintiff’s Responses

1. Identify each person (other than your attorneys of record in this action) with whom you
have had contact regarding the allegations contained in the Complaint.

Response: Objection, vague and ambiguous as to whether the interrogatory refers to
contact with individuals about the Complaint or about the underlying factual matter of the
Complaint. As to the underlying factual matter of the Complaint, I have had contact with

individuals including but not limited to those individuals mentioned in the Complaint and

2:17-cv-00194-kjd Document 140-24 Filed 03/06/20 Page 3 of 30

identified in my Initial Disclosures, and listed in response to Interrogatory #6 of Plaintiff's

Response to Mary Hitchcock Memorial Hospital’s First Set of Interrogatories.

2. Identify and describe in detail all communications between you and any current or former
employee or agent of Defendants that in any way refer or relate to your allegations, claims, or
contentions in the Complaint or in this case. For each communication identified, please include
the name of the person with whom the communication occurred; the person’s title, if any, and
employer; the date on which the communication took place; the medium through which the
communication occurred; and the substance of the communication.

Response: Objection, overbroad and unduly burdensome, duplicative of Defendants’
requests to produce, and requests information more easily accessible by Defendants.

Without waiving these objections, see Plaintiff’s production of documents.

3, Describe in detail the alleged disability you purportedly developed in November 2015,
including in your answer a detailed explanation of (i) why, by December 2015, your alleged
disability was sufficiently serious that you could not continue to work as alleged in Paragraph 38
of the Complaint and (ii) every job duty or responsibility that you contend your alleged disability
prevented you from performing without a reasonable accommodation.

Response: I developed a cerebral spinal fluid (“CSF”) leak with associated neurologic
symptoms in November 2015. In early November, I began having mild headaches and hazy
vision occasionally. In late November, I had more severe symptoms, including severe head
and neck pain, dizziness, vertigo, balance problems, tinnitus, general ill-feeling. At first, I
continued working despite the symptoms, even though in early December I was not feeling
well, with fatigue, blurred vision, and headaches. From December 5-11, 2015, I traveled to
Dallas as an oral board examiner for the American Board of OB/GYN, and I developed
double vision, no depth perception, no appetite, and loss of balance over the course of that

trip. After I returned from that trip, I did not work — and was unable to work — until the

2:17-cv-00194-kjd Document 140-24 Filed 03/06/20 Page 4 of 30

spring of 2016. Among other neurologic symptoms, I had extreme visual difficulties from
the spinal fluid leak, including double vision, along with extremely painful headaches,
slurred speech, fatigue, tinnitus, and slowed cognitive processing. I had an MRI on
December 14, which indicated a possible CSF leak. On December 17, 2015, I had a CT
guided blood patch at Dartmouth-Hitchcock. In late December, my primary care provider,
Dr. Brooke Herndon, advised that I would be able to return to work on February 1, 2016.

My condition had not improved by that point, so I was not able to return to work at that
point. On March 3, 2016, I had an e-consult with the Mayo Clinic.

I returned to work on a very part-time basis starting in early April 2016. My
primary care physician, Dr. M. Brooke Herndon at Heater Road Primary Care, approved
my return to work at a maximum of two half-days per week, consisting of 90 minutes of
work, a 30-minute break, another 60 minutes of work, and then returning home, with two
days off between working. I was not authorized to return to the OR at that time, or to take
call.

In late May 2016, I was told by my treating physicians at D-H that my CSF leak had
healed, even though that turned out not to be the case because I continued having severe
symptoms. In mid-June 2016, I increased my work hours to about 12 hours per week. I
was limited to one task at a time, without handling complex cases or working in the OR. I
was able to teach, handle IVF procedures, read ultrasounds, and provide ultrasound
referrals and consults. I still suffered from dizziness, headaches, fatigue, and other
symptoms.

In late August 2016, I began treatment at the Mayo Clinic. They quickly diagnosed
a high-flow leak at T12-L1 and recommended a surgical repair. The Mayo Clinic
physicians confirmed that the patch I received at D-H would not be able to fix a high-flow
leak and was not the right treatment. I had surgery in early September 2016 at the Mayo
Clinic. For about six weeks after the surgery, I was restricted to bed rest, although I did
some work anyway. I wrote a book chapter, I reviewed some ultrasounds for physicians at
D-H, and I provided some IVF consultations. Also, I called in for team meetings.

On or about November 4, 2016, I returned to work. I worked about 4 hours a week
at first, and then increased to about 7 hours a week in December 2016. I briefly returned

to the Mayo Clinic for treatment in January 2017. My goal was to return to full-time work

2:17-cv-00194-kjd Document 140-24 Filed 03/06/20 Page 5 of 30

within the next few months. By March 2017, I was able to work about 20 hours per week.
By the time my employment was terminated in June 2017, I had recently returned to the
OR - which was the final step of my planned increased in duties — and could perform the
majority of my prior job duties, although I was not able to work full time.

With the approval of my physicians and occupational therapist, I returned to work
gradually with a prescribed set of work hours and a set of duty restrictions, and had a
gradual increase in number of hours and intensity of job responsibilities. Over time, my
work restrictions gradually decreased. My care team included my primary care doctor
(Brooke Herndon), an occupational therapist (Greg Morneau), a neurologist (Tom Ward
MD and Stewart Tepper MD), and a general surgery neuro-rehabilitation ARNP (Debra
Fournier), along with the Mayo Clinic care team. I conferred regularly with Dr. Leslie
DeMars about my work restrictions and gradual increase in responsibilities. The goal and |
the outcome anticipated by my care team was that I would make a full recovery.

I had a second surgery in September 2017 at the Mayo Clinic. Iam now able to
handle all of my prior responsibilities, although I am still proctored during surgery, and I
am working three days per week. As a result of my successful treatment at the Mayo

Clinic, it appears that my CSF leak has fully resolved.

4, Identify and describe in detail each and every accommodation that you requested of
Defendants between November 1, 2015 and the termination of your employment with
Defendants, including in your answer an explanation of the specific purpose or reason for each
requested accommodation.

Response: My work return responsibilities and documentation were well outlined by my
primary care provider, occupational therapist, neurologists, and neuro-cognitive therapy
provider, and shared with Dr. Leslie DeMars and others within the OB/GYN Department
as was necessary, including Heather Gunnell. Debra Fournier and Greg Morneau outlined
my work return, progress, and restrictions. The gradual nature of the return was
increasing in both complexity and physical demands of the work. I will produce copies of

this documentation in my possession.

2:17-cv-00194-kjd Document 140-24 Filed 03/06/20 Page 6 of 30

The two primary accommodations were a limited number of hours of work, plus
restrictions on the complexity of tasks that I would handle, with the goal of reducing both
of those restrictions over time and returning to full capacity.

When I first returned to work in April 2016, I was limited to 5 hours per week. This
soon increased to 7 hours per week. I heard comments from colleagues about me not
pulling my weight due to my limitation on work hours. I was also limited to
straightforward tasks. I was also required not to multitask and to have space by myself to
work so I would not be distracted.

In June 2016, I increased my work hours to about 12 hours per week. In mid-June
2016, Dr. Leslie DeMars emailed the other REI physicians to remind them of the restriction
that I was not to be distracted in the ultrasound reading room.

In July 2016, I was granted the accommodation of working partly from home.

I then had surgery in September 2016 and was out of work for a period of time. By
November 2016, I had returned to work again on a very limited basis, about 4 hours a week
at first. My work hours gradually increased. By March of 2017, I was working about 20
hours a week.

Throughout this time, I gradually increased the complexity of tasks I could handle,
as well as the number of tasks I could handle at any one time. By the time of my
termination, I had returned to the OR performing minor surgeries under the observation
of other surgeons. My position was terminated by D-H prior to my completion of the
required number of proctored minor and major OR cases in order to reach full
independent status again as a surgeon. The final step of the graduated return to full,
unrestricted duty as outlined by my physicians was the return to full status as a surgeon
performing major cases in the OR, a status I did not achieve prior to the termination of my

position at D-H. Thus, I was terminated while still on disability.

5. Identify the couple whom you allege, in Paragraph 40 of the Complaint, threatened to
commence litigation against Defendants.

Response: Objection, this information is protected by HIPAA and I am not authorized to

disclose it. The patient told me she contacted the General Counsel at Dartmouth-

2:17-cv-00194-kjd Document 140-24 Filed 03/06/20 Page 7 of 30

Hitchcock, so her identity is already known to Defendants. The patient also told me she

had multiple conversations with Dr. Leslie DeMars.

6. Identify and set forth the full factual basis for your contention in Paragraph 43 of the
Complaint that David Seifer “asked [you] to resume a full call schedule, ignored [your] work
boundaries, and continually pushed her to extend [your] work time to consult with him and the

other REI provider on their cases.”

Response: Without waiving the right to supplement this response, I provide the following
response. Dr. David Seifer asked me repeatedly to come in to the call schedule from the
time I returned to work in April 2016 to the time following my recovery from my initial
surgery. He would come in to my office, or interrupt me in the ultrasound unit, or
interrupt me in clinic while I was seeing patients. I told him that I would consider being in
the call schedule when I was back to 20 hours a week, and not without the approval of my
physician. Despite this, he asked sometimes several times a month moving forward. He
became rather belligerent about it and argued with me. I did not feel comfortable taking
call while I was still recovering from the CSF leak, and I was advised by my medical team
not to be within the call schedule.

In March 2017, both Dr. Seifer and Dr. Hsu were planning to be gone for the same
weekend for non-urgent, elective meetings. The IVF program had actively cycling patients,
and the general rules of the OB/GYN Department for time away was that unless it was our
annual meeting (usually once in a year in October), the REI service needed to be covered
by an REI doctor in town, especially with actively cycling IVF patients. I advised Dr.
Seifer that I was not approved by my physicians to take call, nor was I physically ready to
be back into the call schedule at that time.

Despite my objections to Dr. Seifer and Dr. Hsu being away simultaneously and
therefore requiring me to be on the call schedule, both Dr. Seifer and Dr. Hsu left town and
were unavailable by phone during the entire day. The REI nurse practitioner who was
carrying the pager and seeing patients in the clinic could not reach either of them, and she

called me at home on the weekend to have me make all treatment decisions for those

2:17-cv-00194-kjd Document 140-24 Filed 03/06/20 Page 8 of 30

patients cared for on that weekend. In addition, neither Dr. Seifer nor Dr. Hsu had signed
any of their patients out. They had made treatment decisions earlier in the week that
necessitated the ultrasound monitoring appointments for those patients on the weekend
without updating me as to those decisions. It ended up being very stressful for me and
physically and psychologically taxing, and not within my agreed-upon work restrictions.

In planning my work schedule, I spoke with Dr. DeMars and Heather Gunnell
about my work restrictions, particularly the issue of call. I asked Ms. Gunnell if she
wanted me to cut back my hours during the week and cover weekends. She told me that
both Dr. Seifer and Dr. Hsu had regular and numerous openings in their schedule during
the week and were not that busy. In addition, both Dr. Seifer and Dr. Hsu had regular
administrative time and/or days off. Ms. Gunneli told me that i was more valuable to the
OB/GYN Department by covering the ultrasound clinic than by taking call. Dr. DeMars
told me that the resident house staff needed to have regular and quality teaching in
gynecologic ultrasound, and that she wanted me to also cover IVF retrievals and transfers,
specifically for patients for whom she had directly assigned me to the couple’s care. For
example, while I was out completely on disability, Dr. Hsu had misread ultrasound studies,
and had made recommendations to patients to go to surgery based on those misread
ultrasound exams. He was also not appropriately teaching the resident house staff in
gynecologic ultrasound procedures. Dr. DeMars and Ms. Gunnell agreed that I should
return with a concentration in GYN ultrasound clinics, outpatient clinic visits for complex
gynecology, and to care for particular couples in IVF.

When I returned to work, I was restricted with regards to the number and
complexity of tasks I could perform simultaneously, and restricted with regards to the
number of distractions. Despite these restrictions, which were known to Dr. Seifer, he
frequently interrupted me in the course of my clinical responsibilities. Dr. Seifer often
came into my office, or the ultrasound clinic, and then refused to leave even when I
reminded him of my work restrictions. It was very intrusive and it violated my work duty
restrictions. When I complained to Ms. Gunnell about Dr. Seifer’s behavior towards me,
she completely ignored my request for her to step in. Her response to me was that I needed
to be more forceful in telling Dr. Seifer not to distract me. When I complained to Dr.

DeMars, she told me the same thing.

2:17-cv-00194-kjd Document 140-24 Filed 03/06/20 Page 9 of 30

I felt that Dr. Seifer was asking me to handle both my work load and his workload
for him, and that he was trying to reassign his work to everyone else. For example, as
division head, he was supposed to draft consent forms. He did not appear able to handle
this task and frequently asked others for help. Also, Dr. Seifer frequently asked me to read
ultrasound images for him after hours on patients that he was jointly managing with Dr.
Hsu. For example, he asked me how to manage a patient with a clinical history that was
concerning for a possible tubal ectopic pregnancy and wanted me to call him with results
that evening, after I had worked that afternoon. Based on my work restrictions, I was not
supposed to work after I was done with my scheduled hours for the day. He was aware of
this restriction, yet he asked me to work in violation of those restrictions.

I recall one time that Dr. Seifer came into the ultrasound unit in the middle of a very
busy morning session and asked me about a patient he was going to see in Manchester
several days later. I was already multi-tasking and was not to be distracted. He insisted I
give him an answer even when I told him I was busy, and I was not available. I flatly told
him that I could not provide non-urgent patient care issues in the middle of my work day
due to my work limitations. Dr. Seifer would not leave. Even when I told him that I was
unavailable repeatedly, he refused to leave.

Dr. Seifer and Dr. Hsu both were not sensitive to the physical space restrictions of.
my work restrictions, as well as the restrictions minimizing the distractions in the work
space. The first day I was back in ultrasound, in mid-June 2016, Drs. Seifer and Hsu
continued to be in the ultrasound reading room during the beginning portion of the clinic
even though I needed this space, and they didn’t leave when I asked them to. I got behind
with patients that day, and had to make a patient wait for a pregnancy viability scan. This
was very stressful for me, since I was newly back to work and was not supposed to be

distracted or stressed.

7. Describe in detail why, at the time your employment with Defendants was terminated,
you had been primarily performing “non-REI work,” as alleged in Paragraph 46 of the

Complaint.

2:17-cv-00194-kjd Document 140-24 Filed 03/06/20 Page 10 of 30

Response:

My responsibilities at D-H were numerous and complex. The following list

provides an overview of my responsibilities that were not REI-related, including some

specific examples of patients I handled around the time of my termination. At the time of

my termination, there was plenty of this work to occupy my entire schedule, even once I

returned to full-time work.

1.)

2.)
3.)
4.)

5.)

6.)

7)

8.)

9.)

Fertility preservation. For example, I provided oocyte, sperm, and embryo
freezing consults for Norris Cotton Cancer patients desiring to freeze gametes
and embryos in advance of chemotherapy. This is a service recommended by
the American Society of Clinical Oncologists. I was regularly consulted by
GYN oncology and hematology oncology for young women with cancers (e.g.,
breast, lymphomas, colorectal, endometrial cancer, borderline ovarian cancer,
and cervical cancer) who desired fertility preservation.

Minimally invasive advanced laparoscopic surgery for a host of benign
gynecological diagnoses.

Work-up and counseling for couples experiencing recurrent pregnancy loss.

Complex operative hysteroscopy surgical consults, such as for removal of a
myoma (fibroid) in a patient with primary infertility desiring to retain fertility.

Subspecialty consults for the treatment of abnormal uterine bleeding in patients
with complex medical diagnoses, such as in a 16-year-old with multiple
congenital anomalies, including Mullerian anomaly, and multiple prior
surgeries.

Consult for patients with birth defect(s) of the reproductive tract, such as
determining treatment of a 21-year-old with a Mullerian anomaly (uterine birth
defect) with a longitudinal vaginal septum.

Consults for hysterectomy for benign diseases, such as perimenopausal bleeding
and uterine fibroids. While there may be other providers at D-H who can offer
this service, it is frequently presented and multiple competent providers are
necessary to handle the work flow in a timely fashion.

Consult for benign adnexal masses in a post-menopausal patient with a complex
adnexal mass.

Annual appointments for prior GYN patients whom I had seen over the years
for various complex gynecological problems.

10.) Basic infertility evaluation, including ultrasound guided tubal patency studies

when indicated. I am a national expert in the performance of ultrasound
guided tubal patency study, which is an examination of the condition of the
fallopian tubes. None of the remaining gynecologists at D-H know how to do

2:17-cv-00194-kjd Document 140-24 Filed 03/06/20 Page 11 of 30

them, and one of the generalist OB/GYNs called me shortly after my
termination and asked me to walk her through how to perform the procedure,
as she had never done or seen one, and a patient on her schedule later that day
had requested it. This is part of the basic infertility evaluation. Even though D-
H does not have an REI division now, D-H still has need for completion of basic
fertility evaluations. The OB/GYN department at D-H has been trying since my
termination to provide basic treatment in infertility care and has not been
successful. This has caused multiple patient complaints to administration, staff,
and to providers. While faculty have begun to perform tubal patency studies -
the traditional way (HSG), these studies are more painful to the patient, expose
the patient to ionizing radiation, and do not obtain as much information in a
single study as an ultrasound guided procedure.

11.) First trimester ultrasound for pregnant patients. I provided first trimester
‘ultrasound and comprehensive first trimester care to patients with pregnancy
complications. Providers at D-H are now having a difficult time scheduling
their patients for dating and viability ultrasounds. Often the dates of service
offered are 1-2 weeks out from the date of service requested. Understandably, a
patient with a concern for pregnancy viability does not want to wait a week or
two weeks to find out if her pregnancy is viable. I performed a large number of
first trimester ultrasound exams in the unit imbedded with the 5" floor of the
OB/GYN department. Now, the exams are largely completed in radiology,
rather than OB/GYN. The patient is seen in the general ultrasound unit down
on the third floor, and if it turns out to be a non-viable pregnancy, or a
pregnancy complication, she has to walk all the way to another building to the
5" floor, sit in a waiting room full of pregnant patients, and wait to be counseled
by the provider in the OB/GYN clinic. This is a hardship on these patients.

12.) Consultation for pregnancies in unusual locations. I provided a referral service
for the diagnosis and treatment for entire DH referral network for the
treatment of pregnancies in unusual locations (cesarean scar, cervical, etc).

13.) Consultation for uterine fibroids in a patient who desires fertility.

14.) Consultation for complex operative hysteroscopic for a patient with Asherman’s
adhesions (intrauterine adhesions) post myomectomy for surgical correction.

15.) Resident training: ACGME requires didactic lectures for the resident
curriculum, and I often provided these lectures. Even if the REI Division
closed, I could have participated in these lectures and provided this education to
our residents. The D-H residents in OB/GYN are now traveling to UVMMC to
rotate through REI to obtain this necessary educational experience.

16.) Consultation for abnormal uterine bleeding in pre- and post-menopausal
women including the imaging and interpretation of those images
(sonohysterography). I am a national and international expert.

10

2:17-cv-00194-kjd Document 140-24 Filed 03/06/20 Page 12 of 30

17.) Ultrasound-guided benign gynecologic procedures (IUD complications, biopsy
of the uterine lining, drainage of pelvic abscesses, drainage of pelvic cysts). I
could do many procedures under ultrasound guidance, and in addition read the
imaging study—for example, [UD removals where the string is lost, or the IUD
imbedded within the uterus, or difficult IUD insertions. These services saved
the patient an inpatient procedure performed in the operating room (expensive
and unnecessary general anesthetic). I provided a consultative service to the
entire OB/GYN department at DH for ultrasound guided procedures. I was the
only provider at D-H credentialed to both perform the procedures and read the
ultrasounds. There are no other gynecologists at D-H who are credentialed or
adequately trained to read ultrasound. Now, procedures that I could have
handled by myself at D-H require two attending physicians, one from OB/GYN
and one from radiology.

18.) Consultation and re-interpretation of GYN ultrasound, such as for adnexal
masses (i.e., masses in areas close to and related to the uterus, such as the
ovaries, fallopian tubes, or surrounding connective tissue) in all patients,
including during pregnancy. I regularly was asked to re-read ultrasound
images from studies that were performed both within radiology at DH, and
from outside the facility.

19.) Consults and collaboration for medical endocrinology. The medical endocrine
fellows used to rotate through REI to see, for example, how we approached
clinical management for patients with polycystic ovarian syndrome, or pituitary
tumors such as prolactinomas who wanted to become pregnant and weren’t
ovulating. I frequently consulted for these issues. Indeed, I have been asked by
one of the attending physicians in Division of Medical Endocrinology at D-H to
give a didactic lecture to the Medical Endocrinology service on the basic
infertility evaluation. The Medical Endocrinology service at D-H is now
providing some care for infertility patients and the medical endocrinology
service does not feel it has a way to provide a comprehensive evaluation to these
patients, nor a current paradigm by which to evaluate these patients. I have
seen two patients within the last week in consultation from Medical
Endocrinology at DH.

20.) Consultation for pediatric gynecology. Before my termination, I was handling
the overwhelming majority of consults in pediatric gynecology for such
diagnoses as ovarian cysts, persistent vaginal discharge, vaginoscopy for
children with vaginal bleeding, congenital reproductive tract anomalies, etc.

21.) Geisel School of Medicine lectures for second year course.

22.) Ovarian conservation surgery, such as cystectomy for women with masses who
desire fertility and gonad sparing.

11

2:17-cv-00194-kjd Document 140-24 Filed 03/06/20 Page 13 of 30

8, Identify each and every job responsibility that you performed, as of the date on which
your employment with Defendants was terminated, which you contend was essential to the
functioning of the Department of Obstetrics and Gynecology, as alleged in Paragraph 46 of the
Complaint, including in your response an explanation of why each responsibility was essential to
the functioning of the Department, whether you performed the responsibility before you
allegedly became disabled and, if so, the number of hours per week in which you performed the
responsibility before you allegedly became disabled.

Response: Reserving the right to supplement my response, I will provide detail as to
numerous components of my responsibilities in the REI Division.

All of my responsibilities were essential to the functioning of the department
because I brought 27 years of experience and an internationally-recognized level of
expertise. Even when other physicians could perform the same tasks, I had an exceptional
skill level and could help train the other physicians and the resident house staff. Plus, there
were numerous types of procedures that no other physicians at D-H were able to perform.
In particular, I offered a skillset in gynecologic ultrasound, advanced hysteroscopic and
laparoscopic surgery, and endocrinology that was essential to the functioning of the
OB/GYN Department and is not replicated to an equivalent extent by the current providers
at D-H.

Before I was injured and disabled due to the CSF leak, I was working 1 to 1.5 days a
week in the OR (8-12 hours a week) for a host of GYN surgeries, both minimally invasive
and open procedures; plus 12-16 hours per week of gynecologic ultrasound procedures,
first trimester ultrasound, abnormal uterine bleeding and post-menopausal bleeding, etc.,
and I had a resident with me most days; plus clinic 16 hours a week; and teaching fellows,
residents, resident didactics, medical school teaching, etc.

Below is my job description:

Faculty member — Division of Reproductive Endocrinology and Infertility (RED,

Department of Obstetrics and Gynecology

Clinical care:

- Evaluation and management of complex patients with infertility,
reproductive endocrinology disorders and benign gynecologic disorders.

12

2:17-cv-00194-kjd Document 140-24 Filed 03/06/20 Page 14 of 30

Requires acquisition and synthesis of complex information to make
treatment recommendations.

Medical management of patients requiring synthesis and management of
co-morbidities.

Surgical management including office based and OR based procedures
requiring hand-eye co-ordination, fine and gross motor skills as well as
real time management of intra-operative situation to achieve surgical goal
and preserve patient safety. As surgeon, she is responsible for team
dynamics and coordination of surgical care of the patient before, during
and after the procedure. At least one full OR day per week.

Call coverage of REI patients as well as back up call for benign
gynecology. Approximately 1:3 weeks for REI, 1:8 weekends for benign

gynecology

Teaching:

Real time clinical training of medical students, residents in Obstetrics and
Gynecology and Fellows in REL
Didactic sessions

Research:

Active participation in standards and guidelines for evaluation of early
pregnancy as well as evaluation of ovarian masses.

Medical Director Assisted Reproductive Technology Program
‘Clinical care:

Evaluation and management of complex patients with infertility.
Requires acquisition and synthesis of complex information to make
treatment recommendations.

Medical management of patients requiring synthesis and management of
co-morbidities.

Surgical management including office based and OR based procedures
requiring hand-eye co-ordination, fine and gross motor skills as well as
real time management of intra-operative situation to achieve surgical goal
and preserve patient safety.

Administrative:

Development of protocols, procedures, clinical practice guidelines and
consent forms for ART

Research:

Active participation in divisional research activity and collaboration with
our clinical affiliate, the University of Vermont

Director of Gyn Ultrasound
Clinical care:

Assessment and synthesis of complex patterns of ultrasound images to
report findings and make treatment recommendations.

13

2:17-cv-00194-kjd Document 140-24 Filed 03/06/20 Page 15 of 30

Administrative:

- Ongoing quality improvement measures for gyn ultrasound at DHMC;
education of residents in Obstetrics and Gynecology and Fellows in REI
about performance, interpretation and reporting of gyn ultrasound.

Research:
- Participation in international observational trials of the evaluation of
early pregnancy and ovarian masses

9, Identify and set forth the full factual basis for your contention in Paragraph 48 of the
Complaint that “the Dartmouth-Hitchcock administration told members of the staff that the
decision to terminate [your] employment was motivated by the fact that [you] had been out of
work for an extended period and was only able to work part-time,” including in your response:
a. Each and every individual who provided information to you that in any way forms the
basis of this allegation, in whole or in part, including the date on which such information was
provided and the substance of the information provided; and

b. Each and every member of the Dartmouth-Hitchcock administration who made the
statement or statements referenced in Paragraph 48 of the Complaint to “member[s] of the staff,”
including the date on which such statement was made, the staff member(s) to whom the
statement was made, and the substance of the statement.

Response: Without waiving the right to supplement, I provide the following response.
After the REI Division had been closed and Dr. Leslie DeMars had stepped down as Chair
of OB/GYN, Dr. Ed Merrens was asked to meet with members of the department for a
formal discussion with leadership. To my understanding, there was a general unhappiness
and uneasiness within the OB/GYN department and the morale was very low. A full
OB/GYN department meeting would typically include residents, nursing staff, leadership,
physicians, ARNP’s and midwives—who ever could go.

Dr. Merrens met with many department members to discuss the status of OB/GYN,
and his vision for moving forward. To the best of my knowledge and recollection, this

meeting occurred during July 2017. He did not address the closure of REI until faculty

14

2:17-cv-00194-kjd Document 140-24 Filed 03/06/20 Page 16 of 30

members specifically asked him to address the closure of REI and my termination. Other
faculty members made comments to Dr. Merrens that the closure of an entire academic
division within the OB/GYN department would harm the educational experience of the
residents and was bad for the residency program.

Michelle Russell brought up the “elephant in the room.” Dr. Russell asked Dr.
Merrens specifically about me, how could he possibly let me go after all of my contributions
to the institution and to the department, and the continued need for my multiple skills
within the department. From what I was told, Dr. Merrens was caught off-guard by the
anger in the OB/GYN Department about my termination. Dr. Merrens responded to Dr.
Russell that the REI Division was closed because it was understaffed. Dr. Russell
responded that I contribute much more to the OB/GYN Department than simply IVF and
REI procedures. Her point was that I could have been fully occupied with non-REI work if
I had been reassigned to a general OB/GYN position in the department, and that I was an
incredibly valuable member of the team. In responding to Dr. Russell’s question, Dr.
Merrens responded that I was only working part time, thus indicating that I was
terminated and not reassigned to another position with OB/GYN because I was unable to
work full time due to my disability. Michelle Russell told me this story when I went to her
house to pick raspberries at her farm in July or early August 2017.

There were many members of the OB/GYN Department at this meeting who could confirm
the comments from Dr. Merrens.

Joan Barthold, MD, a long time general OB/GYN at D-H, also asked Dr. Merrens
about my termination. Dr. Barthold also told me Dr. Merrens made a comment about my
part-time status in responding to the questions about my termination, confirming what
Michelle Russell had said. Dr. Barthold told me this when we went for a walk following a
funeral we both attended in Lyme in the fall of 2017.

10. _Identify each and every REI nurse, ultrasound technician, and embryologist who
approached you in July 2016 and expressed “serious reservations” about the alleged substandard
technical ability of the new REI Division Director and other concerns impacting patient safety,

as alleged in Paragraph 60 of the Complaint, including in your response the individual’s name,

1S

2:17-cv-00194-kjd Document 140-24 Filed 03/06/20 Page 17 of 30

the specific reservation(s) he/she expressed, the date on which he/she expressed the reservation,
and whether any other individuals witnessed the communication in which the reservation was
expressed.

Response: These complaints about the REI Division Director, Dr. Seifer, started from the
very beginning of his employment at D-H in the spring of 2016 and accelerated in July 2016
when he began doing procedures. It is documented in several emails to Leslie DeMars,
including specifically multiple emails evaluating David Seifer’s harvest skills and when she
asked for performance evaluations on him.

I can’t recall specific dates when individuals complained. It was an endless stream,
from multiple sources, over multiple conversations, and in multiple different situations.
Most of these conversations were witnessed by third parties, although some were not. The
theme was always very clear, and the concerns were always similar ~ specifically, that the
REI Division Director was unsafe with patients.

When each and every person complained or commented, I sent them to Dr. Leslie
DeMars, to the head nurse, to their supervisors, and sometimes to Heather Gunnell, the
practice manager. I always made sure to send them to report their concerns up the chain
of command. ,

To the best of my recollection, these are some individuals I spoke with about Dr. Seifer.

e Sharon Parent (RN). She said that she believed it unethical to continue to let him
perform procedures (specifically oocyte harvests), Sharon told me she gave the
same feedback to Dr. DeMars. Specifically, she noted in conversations with me that
he was unsafe; he did not seem to know what he is doing; he appears disoriented at
times; he is unnecessarily rough with the intravaginal ultrasound probe; his patients

woke up with much more pain than is typical following routine oocyte harvests; and
it is unethical to allow him to continue to do oocyte harvests.

e Casey Dodge (RN). She said to me that Dr. Seifer was extremely rough with the
ultrasound vaginal probe during the course of the oocyte harvest; she told me she
felt he appeared disoriented at times; that he did not seem to know what he is doing
during the course of the oocyte retrieval procedures; that the plastic test tubes that
the follicular aspirates were collected were exceptionally bloody (and the nurses
directly handle and pass these to the embryology lab during oocyte harvests, so she
was familiar with the usual standard); and that she also felt he was unsafe. She
asked me to come into an oocyte harvest procedure she was assisting with and she
was not comfortable with him performing it.

16

2:17-cv-00194-kjd Document 140-24 Filed 03/06/20 Page 18 of 30

e Mary Martin (RN). She said to me that there is a problem with Dr. Seifer, and that
he should not be allowed to continue doing oocyte harvests.

e Jaime Florence (LPN). She said to me that there is something wrong with Dr.
Seifer, and that she had learned to communicate with him like she does with her son
who is on the autism spectrum.

e Pam Barlow (LPN). She said to me that there is something wrong with Dr. Seifer.

e Kathleen Mansfield (Head RN). I asked her if nurses had come to her about
problems with Dr. Seifer. She said yes, they had. She told me that she had brought
it up with Dr. Leslie DeMars but nothing had changed.

e Dennis Seguin (ultrasound technician). Dennis came to speak with me after he
assisted Dr. Seifer during an embryo transfer. Dennis said that he had never seen
anything like it, that Dr. Seifer did not seem to know what he was doing, and there
was something really wrong. I told him to go to Dr. DeMars and the radiologist in
charge of ultrasound to report his observations.

e Jenice Gonyea (senior ultrasound technician). She told me that there was something
wrong with Dr. Seifer, and that Dr. Hsu was performing procedures without
consent while Dr. Seifer was present and observing.

e Bonnie Nestler (senior ultrasound technician). She was concerned that Dr. Seifer
was appeared to be struggling with embryo transfer procedures.

e Jennifer Carpenter (ultrasound technician). She was concerned that Dr. Seifer was
performing procedures without patient consent.

e Navid Esfandiari (PhD lab director). He told me that Dr. Seifer would frequently
come into his office and not leave, and that Dr. Seifer keeps asking him to pull data |
for him, which he should be able to do himself. He expressed concern that there was

. something wrong with Dr. Seifer, and that his technique for oocyte harvest was
traumatic.

e Dennis Dela Cruz (Embryologist). Dennis told me that he observed Dr. Seifer
performing oocyte harvests from the vantage point of the embryology lab and that

he felt the harvest was physically rough, and that the test tubes the follicular
aspirates were collected into were unusually bloody.

li. Identify each and every ultrasound technician who “expressed further concern that
. unnecessary and inappropriate procedures” were being performed on patients “without

appropriate consent,” as alleged in Paragraph 62 of the Complaint. For each such technician

17

2:17-cv-00194-kjd Document 140-24 Filed 03/06/20 Page 19 of 30

identified, include the individual’s name, the specific concern(s) he/she expressed, the date on
which he/she expressed the concern(') the substance of the conversation in which the concern(s)
was expressed, and whether any other individuals witnessed the communication in which the
concern(s) was expressed.

Response: To the best of my recollection, and reserving the right to supplement my
response, I provide the following information. Jenice Gonyea told me that she observed
Dr. Hsu and Dr. Seifer performing a tubal patency study on a patient whose tubes were
tied (thus, it was impossible that she required a tubal patency study). For background,
there are two types of fallopian tube patency studies. The traditional study is an HSG
(hystero-salpingogram) completed in radiology under fluoroscopic guidance. Contrast dye
is injected through the cervix, into the uterus, and out the fallopian tubes. It is a painful
procedure, time consuming, and involves exposure to radiation. This is a commonly
performed procedure that all REI physicians are supposed to learn when we are in
fellowship. Neither Dr. Seifer nor Dr. Hsu performed this traditional and common test
during the course of an infertility evaluation.

The second type of tubal patency study is a newer version of this test, and it is
performed under ultrasound guidance. It is called a HYCOSY (Hystero-salpingo-contrast
sonography). The study involves the provider placing a catheter into the cervix or uterus,
and then instilling a mixture of sterile saline and air (or contrast foam) into the uterus and
tubes. With the flow of air, which is echogenic, the air bubbles as they traverse the
fallopian tubes into pelvis can be detected on ultrasound. Dr. Seifer did not perform either
HSG or HYCOSY.

Jenice told me that Dr. Hsu had tried twice in the same day to perform tubal
patency studies on two separate patients who presented not for fertility concerns, but for
gynecologic concerns (abnormal bleeding) — i.e., patients for whom there was no indication
for a tubal patency study. Jenice told me that she directly witnessed Dr. Hsu attempting to
perform an ultrasound guided tubal patency study (HYCOSY) on a patient who had had
her tubes tied, with Dr. David Seifer present, without either verbal or written consent. |
asked her if she was certain that there was not a misunderstanding, and she said yes, there

was no indication for the study, she was present for the entire time Dr. Hsu was present

18

2:17-cv-00194-kjd Document 140-24 Filed 03/06/20 Page 20 of 30

with the patient (as chaperone) and he never either verbally or in writing obtained consent
from these patients. Jenice expressed marked concern to me several times over the next
several days about these incidents. She was distressed as she spoke about it and recounted
her observations. They were doing procedures without indication and without consent.

I asked her to go to Dennis Seguin, the head of ultrasound technicians and with
Dennis to go to the radiologist physician head of ultrasound (either Anne Silas MD or Steve
Sargent, MD at the time).

Dennis Seguin came to me in the ultrasound unit to talk about it afterwards. I
asked him to go to the head of ultrasound and to Dr. Leslie DeMars with the complaint.

IT also spoke with both Heather Gunnell and Dr. DeMars about it because I was
seriously concerned. Ms. Gunneil told me thai she had not yet heard about the incident
and I asked her to follow up with Dr. DeMars. Dr. DeMars acknowledged my concern and
told me she would speak with both Dr. Hsu and Dr. Seifer.

12. Set forth the full factual basis for your contention in Paragraph 76 that two other
physicians in the REI Division were engaging in “fraudulent” and “unlawful” conduct by
“order[ing] and bill[ing] for unnecessary patient testing,” including in your response every
specific law that you contend was violated by this alleged conduct.

Response: Objection, patient information is protected by HIPAA and Plaintiff is not
authorized to reveal patient identities. Without waiving the foregoing objections, Plaintiff
provides the following information. Dr. Albert Hsu and Dr. David Seifer were frequently
ordering unnecessary lab tests at initial new infertility evaluations. For example, they both
ordered patients to come back for unnecessarily frequent blood tests and ovulation
induction monitoring that exceeded the applicable guidelines.

In addition, Dr. Seifer and Dr. Hsu both started ordering trial embryo transfers —
also called mock embryo transfers — for all of their new infertility patients. This is not part
of the standard infertility evaluation based on applicable guidelines. No other REI doctor
in the history of D-H had ordered mock embryo transfers on all new infertility patients

during the course of their initial testing and evaluation. When a new patient who presents

19

2:17-cv-00194-kjd Document 140-24 Filed 03/06/20 Page 21 of 30

for an evaluation of their difficulty conceiving (as opposed to couples who already have
been evaluated for potential causes of infertility by a consulting provider), there is a
recommended evaluation for the patient/couple. A mock or trial embryo transfer is not a
component of the recommended evaluation for an infertile couple.

It may be that an embryo transfer will never need to be performed, and therefore a
trial embryo transfer is unnecessary. A mock embryo transfer should only be performed
once the patient/couple has decided that she/they are likely to proceed with an embryo
transfer. Performing a trial or mock embryo transfer on a patient who might never chose
to pursue IVF and/or has no history of surgical treatments to the cervix, is unnecessary.
Furthermore, many patients only have insurance for diagnostic testing for infertility.
Performance of a mock embryo transfer for all women who are in the basic diagnostic
phase of the evaluation of infertility (not those couples who know they are likely to choose
IVF) is providing a service that may be unnecessary for a majority of the patients.

Insurance companies, including Medicaid, have a clear paradigm for what they will
cover for the diagnostic work up. ASRM (our national organization) has a very clear
outline of the recommended tests for the evaluation of the infertile female, and the routine
performance of a mock or trial embryo transfer is not a part of this paradigm. This is the
ASRM guideline entitled “Diagnostic evaluation of the infertile female: a committee
opinion.”

This caused an issue with excess billing and the potential to have the initial
infertility work up denied, and it caused chaos in ultrasound regarding the work schedule.
The patients didn’t understand it. They came in for their ultrasound not understanding
what was to be done. Dr. Seifer and Dr. Hsu made the change to order the mock transfer
with the new infertility evaluations while I was out due to my CSF leak.

Performing unnecessary procedures allows for higher insurance billing — charges
for radiology for both a limited pelvis and transvaginal scan, and professional OB/GYN
fees for the mock transfer and the uterine/ovarian/tubal patency studies. I brought it up
with Dr. Seifer and Dr. Hsu, and explained why it was unnecessary, time consuming, risked
unnecessary charges and the risks of additional unwarranted procedures. Patients may
decide never to go to IVF, some may decide to move to adoption, some may become

pregnant with simpler means (such as ovulation induction), and some may not choose

20

2:17-cv-00194-kjd Document 140-24 Filed 03/06/20 Page 22 of 30

treatment at all—yet we have charged all of them for the additional study and the study is
not part of national guidelines. I also brought it up at the Value Institute and said frankly it
was billing fraud to continue to bill for mock/trial embryo transfers under such
circumstances. I explained to Dr. Seifer that the charges could be examined by insurance
and it would be billing fraud. We knew these studies were not necessary and still Dr. Seifer
and Dr. Hsu continued to order them and continued to have patients scheduled for them.

It is unlawful billing fraud to order and bill for tests that you know are unnecessary.

13. Identify each and every law that you contend was violated by the junior physician’s
alleged billing practices, as alleged in Paragraph 78 of the Complaint.

Response: Objection, this calls for a legal conclusion. Without waiving the foregoing
objection and reserving the right to supplement, Plaintiff provides the following
information. The applicable laws are federal and state statutes that prohibit billing fraud,
including but not limited to the Health Care Fraud Act, the False Claims Act, the Civil
Monetary Penalties Law, Social Security Act, HIPAA, the New Hampshire False Claims
Act, New Hampshire Unfair Business Practices Act.

For billing purposes, physical space at D-H is designated inpatient, outpatient, etc.
To avoid billing issues, you cannot evaluate and bill outpatients in space designated for
inpatient care (inpatient space is often billed at a higher rate), and vice versa, we cannot
bring an inpatient to the clinic and do an exam and bill for the consult in physical space
designated as outpatient. We have to make certain the patient is discharged from the
hospital and them bring them to clinic.

Dr. Hsu regularly took his outpatient couples to inpatient space and then billed for a
full outpatient services provided within the inpatient space. I explained it to him several
times and told him that aside from an occasional quick nonbillable consult in that space, he
could not use those rooms for the purpose of seeing outpatients in inpatient space. Despite
my explanation, he kept doing it. I explained it to Dr. Seifer who also ignored my
warnings. Previous practice managers and coding specialists had told me I could not use
the inpatient radiology space to see outpatients. I brought this up with Heather Gunnell as

well. I knew from prior coding specialists, practice managers, and department director

21

2:17-cv-00194-kjd Document 140-24 Filed 03/06/20 Page 23 of 30

that space was identified as inpatient radiology space. I told Dr. DeMars about it, and I
told her that if we were audited it would be a problem. This is one of the reasons that Dr.
DeMars took it upon herself to clear out Dr. Hsu’s office so he could see patients in his
office. Billing for procedures in the wrong space constitutes billing fraud, which is illegal.
Eventually, Dr. Leslie DeMars forced Dr. Hsu to stop doing this.

It is also billing fraud to perform unnecessary procedures and tests, as discussed in

response to other interrogatories.

14. Identify each and every “experienced and competent provider,” as alleged in Paragraph
81 of the Complaint, who had “been in discussions” with Defendants and were “interested in
joining the REI Division.” For each provider identified, state the individual’s name, credentials,
and experience; the date(s) on which the individual engaged in discussions with Defendants and
the substance of those discussions; and set forth the full factual basis for your conclusion that the
individual was competent and interested in joining the REI Division.

Response: The three providers were Judith McBean, Daniel Grow, and Erica Mahany.

Daniel Grow, M.D., M.H.C.M. is board certified in Obstetrics and Gynecology and
Reproductive Endocrinology & Infertility. Dr. DeMars brought Dr. Dan Grow in for a
behind-the-scenes set of interviews at the end of March 2017. Dr. DeMars told me he called
her out of the blue and was interested in moving north from Baystate Medical Center. He
was stepping down as Chairman of the Department at Baystate Medical Center. Dr. Grow
wanted to move north, and he planned to practice for approximately another 10 years. He
already owns a house in Vermont. Dr. Grow came up the night before his grand rounds,
and Dr. DeMars and I took him to dinner at Three Tomatoes restaurant. He gave grand
rounds on “Abnormal Uterine Bleeding” the next day, met with Dr. DeMars, and met with
several members of the DH staff/community. Dr. DeMars told me on several occasions that
Dr. Grow was excited to come to DH, and she felt she should discuss the issue of Dr. Hsu
with him. Dr. Grow had been Dr. Hsu’s faculty mentor when he was a resident at

Baystate. I knew Dr. Grow previously from prior professional interactions.

22

2:17-cv-00194-kjd Document 140-24 Filed 03/06/20 Page 24 of 30

Dr. DeMars had told me that Dr. Seifer was going to be leaving DHMC, and that
Maria Padin was in agreement. She brought Dr. Grow in to interview to be a new senior
faculty member as I was still recovering from my illness. She also told me Dr. Hsu would
be leaving and that REI would look very different in the summer 2017. She told me she
had multiple conversations with Dr. Grow and he confirmed his interest, and that by the
summer of 2017 it would be Dr. Grow and me in REI and as the volume of patients allowed
an increase in providers, Dr. Judy McBean would join us to be the third REI.

Judith McBean, MD, is a board-certified reproductive endocrinologist and
infertility specialist. She trained 3 years ahead of me in residency and fellowship at
UVMMC. Dr. McBean practices general OB/GYN and REI in Brattleboro, in a practice
owned by Brattleboro Memorial Hospital. Dr. McBean had been working per diem for
many years at DHMC as a reproductive endocrinologist in the REI Division. Her practice
was considered a satellite location for the DH IVF program; however, I don’t believe there
was ever a financial or contractual agreement.

Dr. McBean was ready to step back and stop practicing obstetrics. Leslie had
offered her a job in REI in the summer of 2016. Dr. McBean was ready to work with us 3
to 4 days a week. My understanding is that she was looking forward to a life of REI
practice for the last 5-10 years of her career. Dr. DeMars had a lot of conversations with
her about joining the division on more than a per diem basis.

Erica Mahany, MD is originally from Rutland, and the daughter of a long-time
Rutland community-member Dr. Ernest Bove, a urologist. Dr. Mahany did a fellowship in
REI in Michigan, and then stayed on as staff there. At the end of her fellowship, she was
looking to move back to Vermont/ New Hampshire. She contacted me by email multiple
times over the course of 18 months or so, and I spoke with her on the phone multiple times.
She had spoken with one of our former residents from D-H and stated she knew we would
be a good fit together in terms of practice style.

Dr. Mahany would have been a good fit for DHMC. She was strong in general
gynecology, and her REI fellowship in Michigan provided excellent training. I spoke with
Dr. DeMars about bringing her in before Dr. Seifer was hired, but Dr. DeMars did not

want to hire another junior partner. When we couldn’t hire her at DH, she stayed on at

23

2:17-cv-00194-kjd Document 140-24 Filed 03/06/20 Page 25 of 30

Michigan, but I understand she has just applied for a job in upstate or central New York

and is still seeking an opportunity to come back to Vermont.

15. Identify each and every state law, federal law, and professional society guideline that you
allege, in Paragraph 90 of the Complaint, Defendants failed to strictly comply with through their
actions.

Response: Reserving the right to supplement, Plaintiff identifies the following statutes: the
Health Care Fraud Act, the False Claims Act, the Civil Monetary Penalties Law, Social
Security Act, HIPAA, the New Hampshire False Claims Act, New Hampshire Unfair
Business Practices Act. Plaintiff also identifies the following professional guidelines:
American Society of Reproductive Medicine (“ASRM”) guidelines and CDC guidelines
about Zika virus; the Joint Commission guidelines about informed consent; other

applicable ASRM guidelines. Plaintiff also identifies the state licensure guidelines.

16. For each “violation of law” referenced in Paragraph 93 of the Complaint, identify each
and every law that you believed, as of the time the alleged violation occurred, had been violated.
For each such law, describe in detail your basis for believing the law was violated and identify
the individual to whom you reported the alleged violation, the medium through which you
communicated the report, the date on which you made the report, and the substance of the report.
Response: Plaintiff will supplement this response. Reserving the right to supplement,
Plaintiff identifies the following statutes: the Health Care Fraud Act, the False Claims Act,
the Civil Monetary Penalties Law, Social Security Act, HIPAA, the New Hampshire False
Claims Act, New Hampshire Unfair Business Practices Act, and the Fertility Clinic Success
Rate and Certification Act (FCSRCA). Plaintiff also identifies the following professional
society guidelines: ASRM and/or CDC guidelines about Zika virus; ASRM guidelines
about informed consent; other applicable ASRM guidelines.

The unlawful occurrences included (1) the transfer and implantation of an embryo

where transmission of Zika virus to the conception was a known risk; (2) performing

24

2:17-cv-00194-kjd Document 140-24 Filed 03/06/20 Page 26 of 30

procedures without obtaining patient consent; (3) fraudulent billing practices; and (4)
failure to retain necessary personnel to validate federally-required data reports.

The transfer and implantation of an embryo where transmission of Zika virus to the
conception was a known risk occurred in February 2017. I was asked by Navid Esfandiari
(the head of the embryology laboratory) to review the chart and course of care for a couple
under the joint care of Dr. Seifer and Dr. Hsu. The couple had created two embryos from
an anonymous oocyte donor and using the husband’s cryopreserved sperm that had
potentially been exposed to the Zika virus. The couple had been evaluated by Dr. Seifer or
Dr. Hsu the day they were traveling to Brazil on vacation. Either Dr. Seifer or Dr. Hsu
should have requested that they cryopreserve sperm before traveling to areas where Zika
was a known risk. The generally applicable guidance is that men should wait six months
after traveling to a known Zika-endemic area before participating in a pregnancy. When
Dr. Esfandiari brought the care of this couple to my attention, I contacted Risk
Management at D-H. Risk Management took the position that the “consent form” signed
by the couple was sufficient. I took the position that it was unethical and unsafe to proceed
with the embryo transfer, where the potential harm was great and there was another
option with significantly less risk (i.e., waiting six months).

More information about REI physicians performing procedures without obtaining
patient consent is provided in response to Interrogatory 11.

More information about REI physicians engaging in fraudulent billing practices is
provided in response to Interrogatories 12 and 13.

In addition, D-H violated the law by failing to retain necessary personnel to validate
federally-required data reports upon closing the REI Division. The D-H reproductive
science laboratory lab director (Navid Esfandiari, PhD) compiled the outcome pregnancy
data for the DH IVF/ART program as is required for 2016. It was compiled and ready to
be submitted to SART (and thus the CDC). Due to the lack of an IVF Medical Director to
validate the data, SART removed the DH program registry and declined to allow
submission of the data. Thus, DH did not report to SART and the CDC for the entire year
of 2016, nor the portion of 2017 that the REI Division was open. I had reported to SART

the absence of a medical director in the summer of 2017, to then-President of SART, Kevin

25

2:17-cv-00194-kjd Document140-24 Filed 03/06/20 Page 27 of 30

Doody, MD. If D-H had retained me in my position I could have validated the data and

allowed for the proper submission of the required data.

17. Set forth the full factual basis for your contention that Defendants discriminated and
retaliated against you based on your alleged disability.

Response: Without waiving the right to supplement, Plaintiff responds as follows. Due to
my CSF leak, I was disabled from November 2015 through the present. My condition has
greatly improved and I anticipate making a full recovery, to the extent I’m not already
fully recovered. At the time of my termination, I was only able to work part-time and had
restrictions as to the types of work I could handle. Other members of the REI Division did
not respect my work boundaries and limitations, and they pushed me to go beyond those
restrictions. Furthermore, when I brought the persistent and ongoing violations of these
work restrictions to leadership, my concerns were ignored. I heard that there were
numerous complaints about me not pulling my weight when I was restricted to only
working part-time and to handling less complex types of work.

On the day the announcement was made of the closure of the REI division, in the
meeting with a member of the staff of employee relations and Dr. Ed Merrens, Dr. Merrens
counseled me not once, but three separate times to stay out on disability. The
representative from employee relations counseled me to meet with Aimee Giglio and that
Ms. Giglio would explain my ability to stay out on disability. After I was terminated, I
learned that Ed Merrens informed members of the OB/GYN Department that my

termination related to the fact that I was only able to work part-time.

18. Identify each person who assisted in the preparation of responses to these interrogatories.
Include in your response a list of the interrogatories he or she assisted with and the nature of the
assistance (including any information) provided.

Response: Katherine B. Kramer, Esq., Geoffrey J. Vitt, Esq., and Julia Korkus
(paralegal), helped with preparing all responses.

26

2:17-cv-00194-kjd Document 140-24

DATED at Norwich, Vermont, in the County of Windsor, this fay

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Misty Blanchette Porter, M.D.
Plaintiff

STATE OF VERMONT
COUNTY OF WINDSOR, SS.

Subscribed and sworn to me this / éday of April, 2018.

Be ey,

ee en

Before me: Cl: SIL fle
Notary Public /

Commission Expires: 2/10/2019

As to objections:

Cie | Mag

Geoffrey J. Vitt /ESq.

Filed 03/06/20

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CERTIFICATE OF SERVICE

I hereby certify that on April 23, 2018, I caused a true copy of the above document to be served

Page 28 of 30

Co" day of April 2018.

upon the attorneys of record for Defendants via electronic mail and first-class mail.

/s/ Geoffrey J. Vitt

Geoffrey J. Vitt

27
2:17-cv-00194-kjd Document140-24 Filed 03/06/20 Page 29 of 30

UNITED STATES DISTRICT COURT
DISTRICT OF VERMONT

MISTY BLANCHETTE PORTER,
M.LD.,

Plaintiff,

)

)

)

)

)

v. ) Docket No. 5:17-CV-194

)

DARTMOUTH-HITCHCOCK )

MEDICAL CENTER, )

DARTMOUTH-HITCHCOCK )

CLINIC, MARY HITCHCOCK )

MEMORIAL HOSPITAL, and )

DARTMOUTH-HITCHCOCK )

HEALTH, )
)
)

Defendants.

DISCOVERY CERTIFICATE

I certify that Plaintiff's Response to Defendant Dartmouth-Hitchcock Medical Center’s
First Set of Interrogatories propounded on Plaintiff Misty Blanchette Porter has been served by
regular mail, postage pre-paid, and via e-mail to the following:

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tcoffin@drm.com

2:17-cv-00194-kjd Document 140-24 Filed 03/06/20 Page 30 of 30

Dated: April 23, 2018 /s/Geoffrey J. Vitt
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Misty Blanchette Porter, M_D.

